         Case 4:21-cv-08706-HSG Document 39 Filed 05/27/21 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION


 SUPER INTERCONNECT                             §
 TECHNOLOGIES LLC,                              §
                                                §
        Plaintiff,                              §
                                                §   JURY TRIAL DEMANDED
 v.                                             §
                                                §
 GOOGLE LLC,                                    §   CIVIL ACTION NO. 6:21-cv-00259-ADA
                                                §
         Defendant.                             §
                                                §



      PLAINTIFF’S UNOPPOSED MOTION FOR WITHDRAWAL OF COUNSEL

       Plaintiff Super Interconnect Technologies LLC (“Plaintiff”) respectfully requests that Jerry

D. Tice II be permitted to withdraw as counsel of record for Plaintiff in this matter. Bragalone

Olejko Saad PC will continue to represent Plaintiff. Defendant does not oppose this motion.




                                                1
         Case 4:21-cv-08706-HSG Document 39 Filed 05/27/21 Page 2 of 2




Dated: May 27, 2021                                 Respectfully submitted,

                                                    /s/Terry A. Saad
                                                    Jeffrey R. Bragalone
                                                    Texas Bar No. 02855775
                                                    Daniel F. Olejko
                                                    Texas Bar No. 24108897
                                                    Terry A. Saad
                                                    Texas Bar No. 24066015

                                                    Bragalone Olejko Saad PC
                                                    2200 Ross Avenue
                                                    Suite 4600W
                                                    Dallas, TX 75201
                                                    Tel: (214) 785-6670
                                                    Fax: (214) 785-6680
                                                    jbragalone@bosfirm.com
                                                    dolejko@bosfirm.com
                                                    tsaad@bosfirm.com


                             CERTIFICATE OF CONFERENCE

       On May 27, 2021, Terry Saad, counsel for Plaintiff, conferred with Mark Liang, counsel

for Defendant, via e-mail concerning the relief requested in this motion. Defendant is not opposed

to this motion.

                                                    /s/ Terry A. Saad
                                                    Terry A. Saad


                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document was filed electronically in

compliance with Local Rule CV-5(a). Therefore, this document was served on all counsel who are

deemed to have consented to electronic service on this the 27th day of May, 2021.


                                                    /s/ Terry A. Saad
                                                    Terry A. Saad



                                                2
